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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

Plaintiff,
                                                                No. CV 08-889 MV/WDS
vs.)                                                                 CR 03-2112 MV

JORGE TORRES-LARANEGA,

Defendant.


                 ORDER GRANTING MOTION FOR RECONSIDERATION

       THIS MATTER comes before the court on the United States’ Motion for Reconsideration.

(Doc. 19) Plaintiff seeks reconsideration of an order (Doc. 19) granting Defendant’s Motion for

Discovery, (Doc. 17) to which Plaintiff had not filed opposition. Plaintiff’s counsel states in support

of his motion for reconsideration that he anticipated receiving an order from the Court directing him

to file opposition, if the Court deemed an opposition brief necessary. The Court suggests that in the

future counsel file opposition to those motions he does not want granted. In the interests of justice

the Court will address the merits of Defendant’s discovery motion and consider Plaintiff’s objections

thereto.

       Rule 6 of the Rules Governing Section 2255 Proceedings for the United States District

Courts provides that a judge may, for good cause, authorize a party to conduct discovery in a §2255

action. A party seeking discovery must specify any requested documents. Defendant seeks

production of all grand jury transcripts, as well as transcripts in Spanish of the wiretapped phone

calls in the underlying criminal case.

       Defendant alleges that a witness at the trial “lied” to the grand jury and seeks to invalidate

the indictments that resulted. The witness, Andrew Armijo, is the FBI agent who coordinated the
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investigation. Defendant takes issue with Agent Armijo’s testimony regarding the seizure of 1471

kilograms of marijuana in May 2003 at the I-25 checkpoint just north of Las Cruces, New Mexico.

There is no question that the seizure occurred and that Martin Mendivil was driving the vehicle

containing the marijuana. At trial, Agent Armijo testified that he had witnessed the seizure of the

tractor trailer, but had not seen any of the alleged co-conspirator’s in a chase vehicle near the

checkpoint at the time of the seizure. The FBI surveillance logs indicated that no other agents had

seen such a chase vehicle. Agent Armijo was confronted on cross-examination with the fact that

he had told the grand jury that Defendant and four other alleged co-conspirators were in a chase car

and had observed the tractor trailer stopped at the checkpoint.

       Agent Armijo explained the discrepancy by stating that the information he conveyed to the

grand jury about the chase car was told to him by the government’s confidential informant, Yolanda

Alarcon, who told Agent Armijo that she had obtained the information from her son. It is apparent

from reading the trial transcript that this entire issue was an attempt by defense counsel to discredit

Ms. Alarcon, not Agent Armijo. Defense counsel made a point of noting that he was not challenging

Agent Armijo’s integrity, but was trying to establish that Ms. Alarcon was an unreliable informant

who had told the agent lies.

       As plaintiff notes in its brief, to the extent that Agent Armijo’s testimony to the grand jury

might have constituted hearsay, the grand jury generally operates “unrestrained by the technical

procedural and evidentiary rules governing the conduct of criminal trials.” United States v.

Calandra, 414 U.S. 338, 343 (1977); accord Fed. R. Evid. 1101(d)(2)(Federal Rules of Evidence

are inapplicable to proceedings before a grand jury). The grand jury may, therefore, consider hearsay

and, indeed, hearsay alone. United States v. Williams, 504 U.S. 36, 50 (1992); see also Costello v.

United States, 350 U.S. 359, 361, 363 (1974) (grand jury presentation comprised solely of hearsay

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evidence provided legally sufficient basis for valid indictment). Accordingly, the Court finds

nothing improper in Agent Armijo’s testimony, whether at trial or before the grand jury.

       Finally, the Court notes that defendant appears to believe that he was tried in federal court

in New Mexico because of Agent Armijo’s grand jury testimony that he was in New Mexico in a

chase car at the time of the aforementioned drug seizure. Defendant appears to be of the belief that

if he never personally entered New Mexico, his trial in the state was invalid. Defendant was charged

with conspiracy, and venue is proper wherever acts in furtherance of a conspiracy occur. See United

States v. Magleby, 420 F.3d 1136, 1145 (10th Cir. 2005). Ample trial evidence implicated defendant

in acts undertaken in New Mexico in furtherance of the conspiracy and the continuing criminal

enterprise. Defendant’s misapprehension in this regard does not provide good cause for court

ordered discovery in this matter. Defendant’s request for grand jury testimony is not well taken and

is denied.

       Similarly, defendant appears to be requesting Spanish language translations of all wiretapped

phone calls in order to establish that he was not present at the May 2003 seizure, and to establish

that on none of the recordings does he mention drug dealing in New Mexico. As noted above, it was

not necessary for the government to establish defendant’s presence at the May 2003 drug seizure

in order to prove the conspiracy or establish that New Mexico was a proper venue for trial. The

Court finds upon reconsideration that defendant’s Motion for Discovery is not well taken,

accordingly plaintiff’s motion for reconsideration is granted and the Court orders that the documents

sought by defendant are not to be produced .

       IT IS SO ORDERED.
                                                              _____________________________
                                                              W. Daniel Schneider
                                                              United States Magistrate Judge


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